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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

DAVITA KEY,                                               )
                                                          )
       Plaintiff,                                         )
                                                          )
v.                                                        )           Civil Action No.:
                                                          )           2:19-cv-00767-ECM
HYUNDAI MOTOR
MANUFACTURING, ALABAMA,                                   )
LLC; HYUNDAI ENG AMERICA,                                 )
INC. and DYNAMIC SECURITY,                                )
INC.,                                                     )
                                                          )
       Defendants.                                        )

HYUNDAI ENG AMERICA, INC.’S MEMORANDUM OF LAW IN SUPPORT
          OF ITS MOTION FOR SUMMARY JUDGMENT

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       Defendant Hyundai ENG America, Inc. (“HEA”) submits this memorandum of law

in support of its Motion for Summary Judgment as to Plaintiff’s remaining claims against

HEA.

                                      INTRODUCTION

       Defendant Hyundai Motor Manufacturing Alabama, LLC (“HMMA”) contracts

with HEA to receive security and other services at HMMA’s Montgomery, Alabama

location. HEA, in turn, contracts with security companies who assign their employees to

fill security positions at the HMMA location. In 2017, Dynamic Security (“Dynamic”) was

the firm that provided security personnel and hired Plaintiff Davita Key for a mailroom

security position. She worked less than four hours during a two-day period before her

assignment ended.

       Plaintiff’s First Amended Complaint (Doc. 28) alleges that the three Defendants

ended her assignment because of race discrimination and retaliation under Title VII and 42

U.S.C. § 1981, and pregnancy discrimination and retaliation under Title VII. The Court

dismissed Plaintiff’s Title VII claims against HEA (Counts I, II and IV). (Doc. 39). In her

remaining claims (Counts III and V), Plaintiff alleges that HEA violated Section 1981 by

ending her assignment because she wore her hair in dreadlocks, and retaliated against her

for complaining that the hairstyle policy was unfair or discriminatory. (Doc. 28 at ¶¶ 125–

138). HEA moves for summary judgment in its favor on Plaintiff’s remaining claims.

Plaintiff cannot establish a prima facie case of race discrimination or retaliation, cannot

establish “but for” causation required under Section 1981, and cannot rebut HEA’s

legitimate reasons for its actions.
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       Plaintiff cannot establish a prima facie case of race discrimination because, as a

matter of law, hairstyle is not a protected characteristic and a prohibition against dreadlocks

is not racial discrimination. Plaintiff also cannot point to comparators who were treated

more favorably (HEA applied the hairstyle policy to all races and Plaintiff actually received

favorable treatment), nor was she replaced by someone outside of her protected class (the

next mailroom security officer was Black). The individuals Plaintiff claims discriminated

against her are also Black, creating an inference against race discrimination. Plaintiff

therefore cannot establish the required but for causation.

       However, even if Plaintiff could somehow establish a prima facie case, HEA had a

valid business reason for concurring in Dynamic’s decision to end her assignment. HEA’s

manager, Cassandra Williams, granted Plaintiff an exception to the hairstyle policy,

something she had not previously done for contract security personnel, and allowed her to

wear her dreadlocks in a specific professional style, but Plaintiff did not change her hair.

Ms. Williams granted Plaintiff another exception and allowed her to temporarily wear a

hat to cover her hairstyle, but Plaintiff was still not satisfied and demanded to see the

hairstyle policy. She then complained about the hairstyle requirements and created a

disruptive environment such that the Dynamic employee assigned to train her (also Black)

reported to Ms. Williams that she could not continue the training. Plaintiff cannot point to

any comparators treated more favorably, nor can she establish that HEA’s reason for

concurring in the decision to end her assignment was pretext for race discrimination.

       Plaintiff likewise cannot establish a prima facie case of race-based retaliation

because she did not complain of race discrimination—she complained about her hairstyle,

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which is not a protected activity. Even if she had complained of race, the manner in which

she objected to the hairstyle requirement rendered her opposition unprotected.

Additionally, Plaintiff cannot establish a good faith belief that she was subjected to race

discrimination given the following: 1) the race of those involved; 2) a prohibition against

dreadlocks is not racially discriminatory; 3) HEA made exceptions for her; and 4) she

admits knowing that there was no applicable law prohibiting a policy against dreadlocks.

Finally, Plaintiff cannot meet her burden to show that an alleged complaint about race

discrimination was the but for cause of her assignment ending and she cannot show that

HEA’s reason for concurring in the decision to end Plaintiff’s assignment was pretext for

retaliation.

        For each of these reasons, discussed in more detail below, there is no genuine

dispute of material fact and HEA is entitled to judgment as a matter of law as to Plaintiff’s

remaining claims.

                           HEA’S STATEMENT OF UNDISPUTED FACTS

A. HEA and Relevant Policies
        1.       HEA contracts with HMMA to provide security services, janitorial services,

landscaping, and other general construction services at the HMMA automotive assembly

location in Montgomery, Alabama. (Ex. 2, Cassandra Williams Deposition at 14:13–19,

15:9–14; Ex. 3, Cassandra Williams Declaration ¶ 2).1 HEA also manages the security



1
  HEA is submitting contemporaneously herewith its Evidentiary Submission in Support of its Motion for Summary
Judgment which contains as Exhibit 1, Plaintiff Davita Key’s Deposition Transcript and Exhibits (hereinafter, “Ex.
1”); as Exhibit 2, Cassandra Williams’s Deposition Transcript and Exhibits (hereinafter, “Ex. 2”); and as Exhibit 3
the Declaration of Cassandra Williams (hereinafter, “Ex. 3”).

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contract for Glovis Alabama and Glovis America at the HMMA location. (Ex. 3 ¶ 2). In

2017, HEA used Dynamic Security to provide personnel to fill contract security positions

at the HMMA facility. (Ex. 3 ¶ 7).

       2.     Contract security personnel assigned to the HMMA location under the HEA

security contracts are expected to comply with the Appearance Standards for Security

Personnel (the “Policy”). (Ex. 2 at Ex. 9). The Policy includes a prohibition on hairstyles

considered unprofessional, including dreadlocks. Id. at pp. 1–2. This prohibition was in

place in 2017. (Ex. 3 ¶¶ 3, 4, 7).

       3.     Approximately one decade ago, Cassandra Williams, HEA’s Manager of the

Facilities Management Department, and a former Montgomery police officer, created a

version of the Policy similar to what is in place currently, using a then-existing HMMA

policy and her experience as a police officer to set appearance standards for security

personnel. (Ex. 2 at 40:3–8, Ex. 3 ¶ 3). HMMA’s then-existing policy prohibited braids,

but did not specifically reference dreadlocks. (Ex. 3 ¶ 3). Ms. Williams updated the Policy

to, among other things, specify that dreadlocks were prohibited for security personnel,

which included mailroom personnel assigned to the HMMA facility under HEA’s security

services agreement with HMMA. Id.

       4.     No employee of HMMA or HEA ever communicated with Ms. Williams,

verbally or in writing, that they did not want Black people to wear their hair in dreadlocks

and she has never seen any memos or other documents that indicate that HEA or HMMA

did not want Black people to wear dreadlocks. (Ex. 2 at 147:2–6; Ex. 3 ¶ 5). Ms. Williams

has applied the Policy without regard to race or sex during her tenure with HEA, including

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in 2017 when Dynamic was assigning its employees to work at the HMMA location. (Ex.

3 ¶ 6) Ms. Williams would have been offended had she heard that the Policy was directed

only towards Black people, as she is Black. (Ex. 2 at 147:7–9; Ex. 1 at 38:3-5; Ex. 3 ¶ 5).

B.     Plaintiff’s Assignment at HMMA
         5.        On or about July 19, 2017, Plaintiff interviewed with Dynamic manager

Gloria Robinson for employment with Dynamic as a mailroom security officer assigned to

HMMA’s location. (Ex. 1 at 21:8–10; Ex. 3 ¶ 7-8). Although the Policy provides a blanket

prohibition on dreadlocks, after Ms. Robinson interviewed Ms. Key, she called Ms.

Williams in and advised her that Plaintiff had dreadlocks, which were not permitted by the

security contractor hairstyle Policy, but that Plaintiff said she could style them in a

particular way that was very neat and professional. (Ex. 1 at 261:10–262:20; Ex. 3 ¶ 8).

Plaintiff showed Ms. Williams and Ms. Robinson a picture on her phone of her hair in a

bun style. Id.2 Based on the photo, Ms. Robinson and Ms. Williams agreed that Plaintiff

could wear her hair to work in that style and understood that she would change her hair to

that style prior to beginning work at the HMMA location. (Ex. 1 at 265:23–266:5).

         6.        Ms. Key was the first security officer for whom Ms. Williams recalls

granting an exception to the Policy for dreadlocks. (Ex. 3 ¶ 8). HEA has since made

exceptions, each time for Black individuals, when security personnel agree to style their

hair in a very neat and professional manner. (Ex. 2 at 46:12–47:16, 50:8–14; Ex. 3 ¶ 8).

Ms. Williams has applied the Policy to all security contractor candidates, regardless of


2
 Plaintiff says that the phone on which the picture was stored has a cracked screen and she cannot access the photos.
She did not print or transfer the photo of the hairstyle but did print or transfer other items she produced in this lawsuit.
(See Ex. 1 at 251:11–252:13).

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race, and recalls at least one white candidate whose hairstyle was in dreadlocks and was

therefore not acceptable. (Ex. 3 ¶ 8).

       7.     The mailroom is part of the security services provided by HEA to HMMA

and mailroom workers are uniformed security officers under the Policy. (Ex. 2 at 56:12–

17; Ex. 3 ¶ 4). As a mail room security officer, Plaintiff was responsible for security of the

mailroom and its contents, processing mail and packages, delivering mail with the HMMA

location, and reconciling shipping invoices. (Ex. 2 at 64:10–23).

       8.     Prior to her first day, Plaintiff attended training in mid-July at Dynamic’s

training site. (Ex. 1 at 266:10–12). As of that training, she had not restyled her hair. (Ex. 1

at 266:13–16).

       9.     Plaintiff started her assignment in the HMMA mailroom on July 31, 2017,

approximately two weeks after her interview with Dynamic. (Ex. 1 at 266:17–20, 96:17–

21). When Plaintiff arrived at work her hairstyle had not changed from the date of her

interview. (Ex. 1 at 266:17–20). Plaintiff says Ms. Williams questioned why she had not

restyled her hair as previously instructed. (Ex. 1 at 268:8–12). Plaintiff says that during

training at the Dynamic offices, a Dynamic employee told her nothing was wrong with her

hair and that the Dynamic handbook did not prohibit dreadlocks. (Ex. 1 at 268:13–19).

Plaintiff was advised that dreadlocks were not permitted. (Ex. 1 at 118:9–19).

       10.    On July 31st, Plaintiff arrived with her hair unchanged and then demanded

to see the Policy prohibiting dreadlocks, which Ms. Williams showed to her. (Ex. 1 at

269:18–270:3). Ms. Williams then granted a second exception and informed Plaintiff that

she could wear a hat to cover her dreadlocks. (Ex. 1 at 118:9–19, 149:24–150:4). Plaintiff

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did not have a hat and was sent home by Gloria Robinson for failure to adhere to the Policy.

(Ex. 1 at 117:14–118:21).

        11.     On the morning of August 1, 2017, Plaintiff again showed up to work at the

HMMA location with her hair styled in dreadlocks, but wearing a hat. (Ex. 1 at 260:21–

261:5). Ms. Williams received a call from Latunya Howell, a Dynamic employee who was

training Plaintiff in the mailroom, reporting that Plaintiff was asking for an HMMA

handbook to look at the hair and appearance policies and that Plaintiff was complaining

about the hairstyle policy and alleging it was unfair or discriminatory. (Ex. 2 at 95:7–20).

Ms. Howell reported that Plaintiff was uncooperative and did not listen or attempt to learn

the mailroom position and that she could not train Plaintiff due to her behavior. (Ex. 2 at

103:8–23).

        12.     At some time after the July 31st discussion, Ms. Williams and Ms. Robinson

discussed Dynamic reassigning Plaintiff to a different location. (Ex. 2 at 94:2–95:6). On

August 1, 2017, Ms. Williams sent an email to Dynamic supporting the decision to reassign

Ms. Key.3 (Ex. 2 at 94:2–95:6).

        13.     August 1, 2017 was Plaintiff’s last day assigned to the mailroom at the

HMMA facility. (Ex. 1 at 96:17–21). She worked approximately four hours during her

assignment. (Ex. 1 at 113:25–114:9).




3
  Ms. Williams has no authority to terminate Dynamic Security employees but is able to make recommendations to
the account manager. (Ex. 2 at 31:13–32:14)

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C. Plaintiff’s Lawsuit and Claims as to HEA
        14.     Plaintiff filed her lawsuit on October 10, 2019 (Doc. 1) and amended her

complaint (Doc. 28) on June 1, 2020. Plaintiff’s remaining claims against HEA are race

discrimination and retaliation, based on the end of her assignment, under 42 U.S.C. § 1981.

(Doc. 28 Counts III and V).

        15.     Plaintiff claims that Dynamic employee Gloria Robinson told her that there

were “little memos” from “the Koreans” regarding Black people’s hairstyles (Doc. 28, p.

11 ¶ 82); yet, Plaintiff never saw any memo. (Ex. 1 at 63:24–64:14). Neither Ms. Williams,

nor Ms. Robinson have heard of or seen memos regarding HEA or HMMA (or Koreans)

not wanting Black people to wear their hair in dreadlocks. (Ex. 3 ¶ 5; Gloria Robinson

Declaration ¶ 12).4 During her employment with Dynamic, no one with any of the

Defendants used any racial slurs towards Plaintiff. (Ex. 1 at 173:20–22).

        16.     Plaintiff spoke to Ms. Williams only about her hair and complained about

not being able to wear her preferred hairstyle. (Ex. 1 at 278:7–18). Ms. Williams is not

aware of Plaintiff complaining about race discrimination during her assignment and did

not construe Plaintiff’s complaints about hairstyle to be about race. (Ex. 3 ¶ 9). Ms.

Williams would have found it odd had Plaintiff complained about race because Williams

is also Black and because Williams made an exception to the hairstyle Policy for Plaintiff.

Id. Plaintiff says she equates her hair with her race (Ex. 1 at 278:14–15) and her claim of

race discrimination is based on her hairstyle and the prohibition on dreadlocks (Ex. 1 at


4
  See Gloria Robinson’s Declaration included in HMMA’s evidentiary materials (identifying Ms. Robinson as “a
Black woman” who never said “that “the Koreans were a different breed of animals” and has “never seen any memo
from HMMA or HEA executives regarding hair styles.”).

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Ex. 18; Doc. 28, p. 20–21 ¶¶ 128–132); however, Plaintiff is unaware of any Alabama law

prohibiting an employer from having a policy against dreadlocks. (Ex. 1 at 254:4–11).

                           SUMMARY JUDGMENT STANDARD

       Summary judgment is appropriate “if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56(a). The movant bears the initial burden of showing the court, by

reference to materials on file, that no genuine issues of material fact exist. Celotex Corp.

v. Catrett, 477 U.S. 317 (1986); Clark v. Coats & Clark, Inc., 929 F.2d 604 (11th Cir.

1991). After the moving party discharges its burden, the non-movant must go beyond the

pleadings and designate specific facts showing there is a genuine issue for trial. Jeffery v.

Sarasota White Sox, Inc., 64 F.3d 590, 593 (11th Cir. 1995). “Mere general allegations

which do not reveal detailed and precise facts will not prevent the award of summary

judgment.” Resol. Trust Corp. v. Dunmar Corp., 43 F.3d 587, 592 (11th Cir. 1995), cert.

denied, 516 U.S. 817 (1995) (citation omitted).

                                          ARGUMENT

A. Plaintiff’s Race Discrimination Claim Fails as a Matter of Law.
       When analyzing claims under Title VII and Section 1981, courts in this Circuit use

the same analytical framework. Standard v. A.B.E.L. Servs., Inc., 161 F.3d 1318, 1330

(11th Cir. 1998), abrogated on other grounds by Burlington N. & Santa Fe Ry. Co. v.

White, 548 U.S. 53 (2006); Rice-Lamar v. City of Ft. Lauderdale, 232 F.3d 836, 843 n.11

(11th Cir. 2000). However, under 42 U.S.C. § 1981, a Plaintiff must establish her claim

under the more stringent but for causation standard. See Comcast Corp. v. Nat. Assoc. of

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African American-Owned Media, 140 S.Ct. 1009, 1019 (2020) (holding Section 1981 race

discrimination claims require but-for causation).

       Plaintiff bears the ultimate burden of proving—by a preponderance of the

evidence—that HEA discriminated unlawfully against her. See Crawford v. Carroll, 529

F.3d 961, 975 (11th Cir. 2008), overruled in part on other grounds by Pearson v. Callahan,

555 U.S. 223 (2009). Where, as here, Plaintiff admits neither Ms. Williams, nor anyone

else, said anything negative about her race, (Ex. 1 at 173:20–22) (in fact, she says she did

not speak to Ms. Williams about anything other than her hair (Ex. 1 at 36:12–14)) and does

not present any direct evidence of discrimination against HEA, her claims are analyzed

under the McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973) burden-shifting

framework. Under this framework, Plaintiff must first establish a prima facie case of

discrimination, to create a presumption of unlawful discrimination against the employer.

Id. If she does so, the employer may then rebut that presumption with legitimate,

nondiscriminatory reasons for the adverse employment acts. Id. The burden then shifts to

the employee to produce evidence sufficient to create a genuine issue of material fact that

the employer’s articulated reasons are a pretext for unlawful discrimination. Id.

       To establish a prima facie case of discrimination, Plaintiff must prove that she (1)

belongs to a protected class, (2) was subjected to an adverse employment action, (3) was

qualified to perform the pertinent job; and (4) was treated less favorably by her employer

than “similarly situated” employees outside the protected class or was replaced by someone

outside her protected class. Lewis v. City of Union City, Ga., 918 F.3d 1213, 1220-21 (11th


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Cir. 2019) (en banc); Cuddeback v. Fla. Bd. of Educ., 381 F.3d 1230, 1235 (11th Cir. 2004)

(listing the prima facie elements for discriminatory discharge).

       1. Plaintiff cannot establish a prima facie case of race discrimination.
       Plaintiff cannot establish a prima facie case of race discrimination against HEA

because her claim is about her dreadlock hairstyle, which is not a protected class or

characteristic. Plaintiff also cannot establish that she was qualified for the contract security

position because she did not meet the hairstyle requirements for the position and her co-

worker could not train her. Finally, Plaintiff can neither establish that HEA was her

employer (Plaintiff’s own testimony and unemployment filings establish that Dynamic was

her employer), there are no comparators who were treated more favorably, and she was not

replaced by someone outside of the protected class.

           a. Hairstyle is not a protected class or characteristic.
       Plaintiff cannot establish a prima facie case because she does not allege

discrimination based on a protected characteristic or class. Plaintiff claims that HEA

discriminated against her because of her dreadlock hairstyle. (Doc. 28 ¶¶ 128–132; Ex. 1

at 278:14–18). The law is well-settled in this Circuit that a prohibition of dreadlocks does

not constitute actionable racial discrimination. See Equal Emp’t Opportunity Comm’n v.

Catastrophe Mgmt. Sols., 852 F.3d 1018 (11th Cir. 2016) (upholding dismissal of

complaint because EEOC “failed to state a plausible claim that [employer] intentionally

discriminated against [applicant] because of her race” when employer rescinded job offer

for applicant’s refusal to cut dreadlocks.). In Catastrophe Management, the Court

reaffirmed that race discrimination may be proven only when such discrimination is against

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employees on the basis of immutable characteristics. See id. at 1030. Because hairstyle is

not an immutable characteristic and the Eleventh Circuit has rejected hairstyle as a basis

for racial discrimination, Plaintiff’s Section 1981 claim fails from the outset.

       Plaintiff attempts to avoid this obvious legal impediment by alleging that Dynamic

employee Gloria Robinson said that “the Koreans do not want African-Americans wearing

their hair in dreadlock hairstyles” and that they sent “little memos” to that regard. (Doc. 28

at ¶ 82). However, this testimony from Plaintiff does not overcome her failure to establish

a prima facie case nor does it rebut HEA’s legitimate reason for concurring in the decision

to end Plaintiff’s assignment. As an initial matter, no admissible evidence supports those

alleged statements and “inadmissible hearsay cannot be considered on motion for summary

judgment.” Dowlen v. Sec. of Veteran Affairs, 28 F. App’x 572, 578 (11th Cir. 2008)

(quoting Macuba v. Deboer, 193 F.3d 1316, 1322 (11th Cir. 1999)). Neither Plaintiff nor

anyone else testified that they have ever heard such a statement from HEA or HMMA,

much less has anyone seen such a memo. (Ex. 1 at 63:24–64:14, 66:20–67:10). Ms.

Williams has never heard such comments or seen any such memos, and she is unaware of

anyone at HMMA or HEA saying that the Policy had any relation to race. (Ex. 3 ¶ 5). She

would have been offended by any such suggestion or actions. (Ex. 2 at 147:2–9).

       Ms. Williams created the provision in the Policy at issue and she applied it to all

contract security personnel at the HMMA location regardless of race. (Ex. 3 ¶¶ 3, 6). In

fact, the first person granted an exception to the Policy was Plaintiff, who is Black. (Ex. 3




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at ¶ 8). There is no evidence that the hairstyle Policy was created to discriminate based on

race or that HEA applied it in such a manner.

          b. Plaintiff cannot establish that she was qualified for the position.
       Plaintiff also cannot establish that she was qualified for the mailroom security

position. It is undisputed that the hairstyle Policy did not allow for dreadlocks and Plaintiff

wore her hair in dreadlocks even after agreeing to change it. As such, Plaintiff did not meet

the grooming qualifications for the position. Additionally, a necessary requirement for the

position was for Plaintiff to complete training. (Ex. 3 ¶ 7). Latunya Howell, who was

assigned to train Plaintiff in the mailroom, stated that she could not train Plaintiff because

of her disruptive behavior. (Ex. 2 at 102:13–21, 103:16–23). Plaintiff’s inability to be

trained and refusal to change her non-compliant hairstyle prevents her from establishing

that she was qualified for the mailroom worker position.

          c. There is no comparator or replacement outside of Plaintiff’s protected
              class.

       Even if Plaintiff could establish that her hairstyle was protected and that she was

qualified for the position despite not meeting the grooming or training requirements; she

still cannot establish a prima facie case of race discrimination because HEA was not her

employer and she provides no evidence that she was treated less favorably than, or replaced

by, individuals outside of her protected class.

       Plaintiff’s testimony and her unemployment filings establish that she was employed

by Defendant Dynamic, not HEA. (Ex. 1 at 44:10–12). Plaintiff cannot point to anyone of

another race who was not required to comply with the Policy prohibiting dreadlocks. (Ex.
                                                  13
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1 at 154:22–25). As such, Plaintiff cannot establish a prima facie case of employment

discrimination against HEA. See Lewis v. City of Union City, Ga., 918 F.3d at 1220–21

(11th Cir. 2019) (en banc) (requiring as an element of racial discrimination claim that

employer treat employee less favorably than “similarly situated” employees outside the

protected class or was replaced by someone outside her protected class).

       Plaintiff’s discrimination argument is further eroded by the fact that Ms. Williams,

who is Black, created the HEA hairstyle provision at issue (Ex. 2 at 45:5–12; Ex. 3 ¶¶ 3–

4), and applied it to all contract security personnel without regard to race. (Ex. 3 ¶ 6). As

the Eleventh Circuit has noted, when the decision makers are in the same protected class

as the employee complaining about an adverse employment decision, the employee faces

a more difficult burden in establishing that a discriminatory animus played a role in the

decision complained about. Elrod v. Sears, Roebuck & Co., 939 F.2d 1466, 1471 (11th

Cir.1991).

       If anything, HEA treated Plaintiff more favorably than others by making exceptions

for her that it had not previously made for other contract security personnel. (Ex. 3 ¶ 8).

Ms. Williams was willing to allow Plaintiff to wear dreadlocks, if they were styled in an

agreed upon professional way (Ex. 3 ¶ 8), and even offered to allow Plaintiff to hide the

style in a hat while waiting for an appointment with her stylist. (Ex. 1 at 118:9–21).

Additionally, the individual who “replaced” Plaintiff in the mailroom security position at

HMMA was a Black female. (Ex. 2 at 134:23–135:7). As such, Plaintiff cannot establish a

prima facie case of race discrimination.


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       2. Even if Plaintiff could establish a prima facie case, HEA had a legitimate
           non-discriminatory reason for its actions.

       Even if, arguendo, Plaintiff could establish a prima facie case, HEA had a legitimate

non-discriminatory reason for concurring in the decision to end Plaintiff’s brief assignment

at the HMMA location and Plaintiff cannot establish “but-for” causation as required to

overcome HEA’s legitimate explanation.

           a. HEA had a legitimate non-discriminatory reason for its actions.
       Plaintiff’s Section 1981 discrimination claim fails because HEA had a legitimate

nondiscriminatory reason to concur in the decision to end Plaintiff’s assignment at HMMA.

Despite an exception allowing Plaintiff to wear her dreadlocks in a specific professional

style, Plaintiff did not change her hair and instead, a couple of weeks later, Plaintiff arrived

for her first day of work with the original dreadlock style. (Ex. 1 at 250:17–20). Ms.

Williams then agreed to make another exception and allowed Plaintiff to temporarily wear

a hat to cover her dreadlocks. (Ex. 1 147:20–148:3). Despite this favorable treatment,

Plaintiff did not change her hairstyle (Ex. 1 at 250:17–20), demanded to see the hairstyle

policy (Ex. 1 at 50:5–13), complained about the hairstyle requirements to a co-worker (Ex.

1 at 156:16–24), and created a disruptive environment such that the Dynamic employee

assigned to train Plaintiff (also) reported to Ms. Williams that she could not continue the

training. (Ex. 2 at 103:16–23). Plaintiff has presented neither evidence that other contract

personnel engaged in similar behavior and were treated more favorably, nor any other basis

for finding that this legitimate reason for ending her assignment was pretext for race

discrimination.

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           b. Plaintiff cannot prove but for causation to support her Section 1981 race
              discrimination claim.

       Even if Plaintiff could establish a prima facie case, she cannot rebut HEA’s

legitimate reason for ending her assignment under the but for causation standard. See

Comcast Corp., 140 S.Ct. at 1019 (“To prevail, a plaintiff must initially plead and

ultimately prove that, but for race, it would not have suffered the loss of a legally protected

right.”). Race cannot be the but-for cause because Plaintiff acknowledges that Ms.

Williams not only gave her an opportunity to temporarily wear a hat to cover her

dreadlocks, but she granted her an opportunity to style her dreadlocks neatly, which she

failed to take advantage of during the approximately two-week period following her hiring

and her first day on-site at HMMA. (Ex. 1 at 250:17–20). No such exception had been

offered to any non-Black contact security officer. (Ex. 3 ¶ 8). It was Plaintiff’s refusal to

comply with the neutrally applicable hairstyle Policy and her subsequent disruptive

behavior that resulted in her reassignment. Moreover, Plaintiff’s own allegations and

sworn testimony preclude her from establishing that race was the but for cause of her

removal. Plaintiff not only claimed pregnancy discrimination in her First Amended

Complaint, but she testified that she does not know if she would have been removed if she

had not been pregnant. (Ex. 1 at 273:14–18). If Plaintiff does not know if her race, as

opposed to other factors, was the cause of her removal, she cannot establish that race is

the but for cause.

       For each of these reasons, this Court should grant summary judgment in HEA’s

favor on Plaintiff’s claim of race discrimination.

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B.   Plaintiff’s Section 1981 Retaliation Claim also Fails as a Matter of Law.

       Plaintiff’s retaliation claim fails as a matter of law because Plaintiff cannot prove a

prima facie case of retaliation under Section 1981. To do so under Section 1981, Plaintiff

must show that (1) she engaged in statutorily protected activity, (2) that she suffered an

adverse employment action, and (3) that a causal connection existed between the activity

and the adverse action. Crawford, 529 F.3d at 970. As to causation, “the [employer’s]

desire to retaliate [must be] but-for cause of the challenged employment action.” Univ. of

Tex. Sw. Med. Ctr. v. Nassar, 133 S. Ct. 2517, 2528 (2013); see also Smith v. City of Fort

Pierce, 565 F. App’x 774, 778 (11th Cir. 2014) (recognizing that after Nassar, a prima

facie case of retaliation requires showing of but-for causation). Here, Plaintiff cannot make

out a prima facie case of retaliation, but even if she could, she cannot establish pretext to

rebut HEA’s legitimate non-retaliatory reason.

       1. Plaintiff did not complain of race discrimination.
       Plaintiff’s claim fails from the outset because she cannot prove she engaged in

statutorily protected activity. It is undisputed that what Plaintiff complained about was the

hairstyle policy and that she made no mention of race. (Ex. 1 at 278:10–18). However, even

if Plaintiff had claimed race discrimination, neutrally applicable policies prohibiting

dreadlocks are not racially discriminatory under Eleventh Circuit law. See Catastrophe

Mgmt. Sols., 852 F.3d 1018 (holding that dreadlocks are a not an immutable characteristic

of race and, therefore, are not a protected characteristic under Title VII).

       Moreover, even if Plaintiff’s complaints about her hairstyle are considered

oppositional conduct about a protected characteristic, such complaints would not be

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protected activity under 42 U.S.C. § 1981 because of the manner in which she complained.

Plaintiff’s co-worker, who was training her for the mailroom security position, reported to

Ms. Williams that Plaintiff was so disruptive that the co-worker could not and would not

train her. (Ex. 2 at 103:16–23). And, when the means by which an employee expresses her

opposition “so interferes with the performance” of her job duties “that it renders [her]

ineffective in the position for which [she] was employed,” the oppositional conduct is not

protected under Title VII's opposition clause.” Rosser v. Laborers' Int'l Union of N. Am.,

Local No. 438, 616 F.2d 221, 223 (5th Cir. 1980).5 In Gogel v. Kia Motors Manuf. of Ga.,

Inc. 967 F.3d 1121, 1141 (11th Cir. 2020), the Eleventh Circuit explained further that “even

if an employee's oppositional conduct does not interfere with the employee's performance

of her own duties, it can still be deemed unreasonable—and thereby lose its protected

status—if the opposition is expressed in a manner that unreasonably disrupts other

employees or the workplace in general.” Here, Plaintiff’s conduct, as reported to Ms.

Williams, was disruptive to the point that Plaintiff could not be trained, rendering her

conduct unreasonable, not protected, and supportive of HEA’s legitimate basis for

concurring in Plaintiff’s reassignment.

        2. Plaintiff had no good faith reasonable belief that a prohibition against
             wearing dreadlocks was unlawful.

        Even if Plaintiff had complained about race discrimination and the manner of the

complaint was protected, she cannot show she had a good faith reasonable belief the




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 See Bonner v. City of Prichard, 661 F. 2d 1206, 1208 (11th Cir. 1981) (en banc) (adopting as binding precedent all
decisions from the Fifth Circuit handed down prior to October 1, 1981).

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hairstyle policy was racially discriminatory. To establish a “good faith, reasonable belief,”

Plaintiff must show both that she subjectively believed the practice was unlawful and that

the belief was objectively reasonable. Little v. United Techs., Carrier Transicold Div.,

103 F.3d 956, 960 (11th Cir. 1997) (“[i]t thus is not enough for a plaintiff to allege that

his belief in this regard was honest and bona fide; the allegations and record must also

indicate that the belief, though perhaps mistaken, was objectively reasonable”). Plaintiff

admits that she was unaware of any laws applicable to Alabama prohibiting an employer

from having a policy against dreadlocks (Ex. 1 at 254:4–11) and she is unaware of any

discriminatory application of the Policy. (Ex. 1 at 154:22–25). Instead, the individuals

applying the policy were the same race as Plaintiff and actually made exceptions for her.

As such, even if she subjectively believed she had a basis for claiming race discrimination,

such belief was not objectively reasonable.

       3. Even if Plaintiff had engaged in statutorily protected activity, she cannot
          prove causation.

       Even if Plaintiff had complained of race discrimination, and such complaint was

protected, and she could establish a reasonable good faith belief that HEA’s policy was

racially discriminatory, she cannot prove causation against HEA because Ms. Williams,

when echoing the decision to reassign Plaintiff, did not believe Plaintiff’s complaint was

about race, but instead only about her hair. (Ex. 3 ¶ 9); see Kidd v. Mando Am. Corp., 731

F.3d 1196, 1211 (11th Cir. 2013) (“To establish a causal connection, a plaintiff must show

that the relevant decisionmaker was ‘aware of the protected conduct….”) (citation

omitted). Plaintiff herself says her complaint was about her hair and that she did not speak


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to Ms. Williams about anything other than her hair. (Ex. 1 at 36:9–14). Even Plaintiff’s

written complaint to Dynamic refers only to her hairstyle and contains no mention of race.

(Ex. 1 at Ex. 18). Ms. Williams logically did not equate Plaintiff’s complaint with race

because she (a Black female) created the Policy and enforced it along with Gloria Robinson

(also Black). (Ex. 3 ¶ 9; Robinson Decl. ¶ 14). Ms. Williams could not have retaliated

against Plaintiff for complaining about racial discrimination when she was unaware that

Plaintiff’s complaint was about race. Thus, Plaintiff cannot prove her Section 1981

retaliation claim.

       Finally, even if Plaintiff had complained about race discrimination, and the

complaint was subjectively and objectively in good faith, and Ms. Williams understood the

complaint to be about race discrimination, Plaintiff cannot prove that her complaint was

the but for cause of her reassignment. As shown above, Ms. Williams had a legitimate

reason for concurring in the decision to reassign Plaintiff. Plaintiff failed to change her

hairstyle after Ms. Williams made an exception to the Policy for her, then demanded to see

the Policy, and then was disruptive to the point that her trainer could not complete her

training. (Ex. 1 at 250:17–20, 50:5–13; Ex. 2 at 103:17–23). Plaintiff cannot establish that

other contract personnel engaged in similar behavior and were treated more favorably.

Therefore, Plaintiff cannot prove causation and her retaliation claim fails.

       For the reasons set forth above, this Court should grant summary judgment in

HEA’s favor on Plaintiff’s claim of retaliation under 42 U.S.C. § 1981.




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                                         CONCLUSION

       Plaintiff’s Section 1981 claims fail because they are not cognizable claims as her

hairstyle is not a basis for race discrimination in the Eleventh Circuit and any complaint

about her hairstyle is not statutorily protected. Moreover, Plaintiff cannot establish a prima

facie case of Section 1981 race discrimination or retaliation and, even if she could, she

cannot rebut HEA’s reason for concurring in her reassignment by showing that it was

pretext and that the but for cause of her reassignment was intentional race discrimination

or retaliation. As such, this Court should grant summary judgment in favor of HEA as to

Plaintiff’s remaining claims.

                                           Respectfully submitted,



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                            CERTIFICATE OF SERVICE

       I hereby certify that on October 12, 2022, I served a copy of the foregoing by
electronic mail on the following counsel of record:

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